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 4                              UNITED STATES DISTRICT COURT

 5                                       DISTRICT OF NEVADA

 6                                                ***

 7     UNITED STATES OF AMERICA,                        Case No. 2:13-CR-149-KJD-CWH
 8                          Plaintiff,
                                                                          ORDER
 9           v.
10     RODRIGUEZ MADDEN,
11                          Defendant.
12            Before the Court is Defendant Rodriguez Madden’s Motion to Continue or Shorten Time
13     for Hearing Currently Set for May 27 2014 (#95). The Government responded (#96) and is
14     unopposed. The hearing pertains to Defendant’s Motion for Appointment of [New] Counsel
15     (#91). Accordingly, good cause appearing, the Hearing set for May 27, 2014 is HEREBY
16     RESET for May 20, 2014 at 9:00 AM.
17            DATED this 14th day of May 2014.
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                                                        Kent J. Dawson
21                                                      United States District Judge
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